           Case 18-34658 Document 221 Filed in TXSB on 03/11/19 Page 1 of 3



                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                §
                                                      §        Case No. 18-34658
HOUTEX BUILDERS, LLC, et al. , 1                      §        Chapter 11
                                                      §
          Debtors.                                    §

                  GREAT SOUTHWESTERN FINANCIAL CORP.’S
              AMENDED CROSS-NOTICE OF RULE 2004 EXAMINATION
                             OF BOB PARKER

To:       Bob Parker
          c/o Dick Fuqua
          Fuqua & Associates
          5005 Riverway Drive
          Houston, Texas 77056
          By email: fuqua@fuqualegal.com

           PLEASE TAKE NOTICE that Great Southwestern Financial Corp. will take the

oral examination of Bob Parker, individually, on March 20, 2019 at 1:00 p.m. (CT) or

thereafter, at the offices of Fuqua & Associates, 5005 River, Suite 250, Houston, Texas

77056 and continuing from day to day thereafter until completed. The examination will be

taken before a court reporter and may be videotaped as designated by the Debtor, Hou-Tex

Builders, LLC in its Notice of Rule 2004 Examination of Bob Parker at Docket No. 219.

      The witness shall also deliver, at the date, time and place set forth below, all records in

the witness’ possession, custody, or control related to the following:


      1. Any agreement between Jim Nored and Robert Parker;
      2. Any agreement between Jim Nored and Houtex Builders, LLC;


1
    The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
    identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC (7627).
       Case 18-34658 Document 221 Filed in TXSB on 03/11/19 Page 2 of 3



   3. Any agreement between Jim Nored and 1040 Hyde Park, LLC;
   4. Any agreement between Jim Nored and CD Homes, LLC;
   5. Any agreement between Jim Nored and HL Builddrs, LLC;
   6. Any agreement between Jim Nored and 1536 Indiana, LLC;
   7. Any notes between Jim Nored as lender to any of the following entities:
          a. Houtex Builders, LLC,
          b. 415 Shadywood, LLC,
          c. 1040 Hyde Park, LLC,
          d. 1536 Indiana, LLC,
          e. CD Homes, LLC,
          f. HL Builders, LLC;
   8. An accounting and evidence of payments made by Houtex Builders, LLC related to the
      $1.6MM loan disbursements received from Spirit of Texas Bank;
   9. Any evidence of payments between Jim Nored and Robert Parker;
   10. Any evidence of payments between Jim Nored and Houtex Builders, LLC;
   11. Any evidence of payments between Jim Nored and 1040 Hyde Park, LLC;
   12. Any evidence of payments between Jim Nored and CD Homes, LLC;
   13. Any evidence of payments between Jim Nored and HL Builders, LLC; and
   14. Any evidence of payments between Jim Nored and 1536 Indiana, LLC.

      These documents are to be produced by 5:00 p.m. (CT) on Monday, March 18, 2019

to Ross Spence at the offices of Snow Spence Green LLP, 2929 Allen Pkwy, Suite 2800,

Houston, TX 77019.

Dated: March 11, 2019                      Respectfully submitted,

                                           SNOW SPENCE GREEN LLP
                                           By: /s/ Ross Spence
                                                Ross Spence
                                                State Bar No. 18918400
                                                Email: ross@snowspencelaw.com
                                                Carolyn Carollo
                                                State Bar No. 24083437
                                                Email: carolyncarollo@snowspencelaw.com


                                              2
        Case 18-34658 Document 221 Filed in TXSB on 03/11/19 Page 3 of 3



                                                    2929 Allen Parkway, Suite 2800
                                                    Houston, TX 77019
                                                    Telephone: (713) 335-4800
                                                    Telecopier: (713) 335-4848
                                                    ATTORNEYS FOR GREAT
                                                    SOUTHWESTERN FINANCIAL CORP.

                               CERTIFICATE OF SERVICE

        This is to certify that on this the 11th day of March 2019, a true and correct copy of the
foregoing Amended Cross-Notice was electronically served upon all parties listed below and
via the Court’s electronic case filing system (ECF):

       Via email: fuqua@fuqualegal.com
       Bob Parker
       c/o Dick Fuqua
       Fuqua & Associates
       5005 Riverway Drive
       Houston, Texas 77056


                                                     /s/ Ross Spence
                                                    Ross Spence




                                                3
